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RANDE LAzAR, M.D., dib/a ) :c_-.- _-__;
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THE UN|TED STATES REQUESTS PERM|SS|ON TO FlLE TWO-PAGE MOT|ON
ADDRESS|NG UN|TED STATES V. REED, 2005 WL 107720 (E.D. Tenn. 2005)

 

 

Comes now the United States of America, by and through the undersigned Assistant

United States Attorney, and nies this request to file a short memorandum addressing United

 

States v. Reed, 2005 WL 107720 (E.D. Tenn. March 28, 2005). This case specifically

addressed the issue of “words of incorporation” and discussed the holdings of Groh v.

 

Ramirez, 540 U.S. 551 (2004) and Branski v. Fifteen Unknown Aoents of Bureau ofAlcoho_|l
Tobaccol and Firearms, 401 F.3d 419, (6"‘ Cir. 2005) which were raised by the court during

our recent hearing. The government will limit its motion to two pages.

 
   
 

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Case 2:04-cr-20017-BBD Document 345 Filed 06/17/05 Page 2 of 3 Page|D 732

WHEREFORE, the government respectfully requests to file a two-page motion

addressing United States v. Reed.

 

Respectfully submitted,

TERRELL L. HARRIS
U ‘ Sta es Attorney

     
    

 

As istant United States Attorney
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K;:Yll\| P. WH|TMORE (BPR #021293)

CERT|F|CATE OF SERV|CE
|, Kevin P. Whitmore, Assista nt United States Attorney for the Western District of
Tennessee, hereby certify that a copy of the foregoing N|otion by the United States has been
mailed, first class postage pre~paid to Mr. Steven E. Farese, Farese, Farese & Farese, P.A.,
P.O, Box 98, Ash|and, Nlississippi 38603 and to Nlr. Marc N. Garber, 3939 Roswe|| Road NE,
Suite 265, l\flarietta, Georgia 30062-6226.

This 14th day of June, 2005.

 

viN P. wHiTMORE l
ssistant United States Attorney

 

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This notice confirms a copy of the document docketed as number 345 in
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Honorable Berniee Donald
US DISTRICT COURT

